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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 2:09-cr-00222-37

KIRK NORMAN DEAN,

                              Defendant.



                         MEMORANDUM OPINION AND ORDER


       Before the Court are Defendant Kirk Norman Dean’s Motion to Suppress Evidence [Docket

872] and Supplemental Motion to Suppress [Docket 1255].

                                           I. BACKGROUND

       Defendant Kirk Norman Dean is among fifty-five members and associates of the Pagans

Motorcycle Club (PMC) charged in a twenty-nine-count superseding indictment. Defendant is named

in Counts Twelve and Nineteen, which respectively charge him with threatening to commit a crime

of violence in aid of racketeering in violation of 18 U.S.C. § 1959(a)(4) and conspiring to carry a

firearm while employed by a prohibited person in violation of 18 U.S.C. § 922(h) and § 371.

       Defendant’s motions seek to suppress evidence seized on three occasions. Defendant first

requests the suppression of any evidence taken from Defendant’s computer by a confidential

informant who was cooperating with the Government at the time the evidence was taken. The

Government represented at a hearing held March 29, 2010, that several photographs were the only

evidence obtained from the computer. The Government conceded on the record that it did not intend
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to introduce any of the photographs into evidence. A copy of one photograph recovered from the

computer may be introduced at trial but the copy was obtained from an independent source.

Accordingly, Defendant acknowledges that this suppression request is moot.

        The two other suppression requests concern evidence obtained from Defendant’s home

during the execution of a search warrant and evidence obtained from Defendant’s girlfriend, Johnna

Lathey, when she was called to testify before a federal grand jury. These requests remain live issues.

They will be discussed in greater detail below.

                                          II. DISCUSSION

       A. Evidence from Search of Defendant’s Home

       The Fourth Amendment to the United States Constitution protects the “right of the people to

be secure in their persons, houses, papers, and effects, against unreasonable searches and seizures.”

U.S. Const. amend IV. This right restrains the power of law enforcement officers to conduct searches

of places in which a person has a “legitimate expectation of privacy.” Rakas v. Illinois, 439 U.S. 128,

143 (1978) (citing Katz v. United States, 389 U.S. 347, 351 (1967)). A person has a limited but

nonetheless legitimate expectation of privacy for the interior of his automobile. See Cardwell v.

Lewis, 417 U.S. 583, 590&91 (1974). A warrantless search of the interior of a person’s automobile

is per se unreasonable unless the search falls within a valid exception. See Schneckloth v.

Bustamonte, 412 U.S. 218, 219 (1973). The Government bears the burden of proving that one of the

valid exceptions applies to the circumstances. See United States v. Jeffers, 342 U.S. 48, 51 (1951);

United States v. Gwinn, 219 F.3d 326, 335 (4th Cir. 2000); United States v. Morrow, 731 F.2d 233,

235–36 (4th Cir. 1984). In this case, the Government relies on the voluntary consent warrant

exception.



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       Law enforcement officers do not need a warrant to conduct a search if the subject of the

search waives his Fourth Amendment rights by voluntarily consenting to the search.               See

Schneckloth, 412 U.S. at 227; Ferguson v. City of Charleston, 308 F.3d 380, 296 (4th Cir. 2002). To

constitute a valid warrant exception, the suspect’s consent must have been given voluntarily, meaning

that it was not obtained by official intimidation, harassment, or by any other form of improper

coercion. Florida v. Bostick, 501 U.S. 429, 438 (1991); see also Schneckloth, 412 U.S. at 225. The

voluntariness of the consent is determined by taking account of the totality of the circumstances.

United States v. Mendenhall, 446 U.S. 544, 557 (1980); United States v. Watson, 423 U.S. 411, 424

(1976). Signed written consent forms are evidence that a search was voluntary. United States v.

Boone, 245 F.3d 352, 362 (4th Cir. 2001). Without more, the fact that the suspect was in custody

does not make his consent involuntary. Watson, 423 U.S. 424.

       The permissible scope of consensual searches is objective reasonableness: “[W]hat would the

typical reasonable person have understood by the exchange between the officer and the suspect?”

Florida v. Jimeno, 500 U.S. 248, 251 (1991). Suspects have the right to place limits on the scope of

warrantless searches based on consent. United States v. Coleman, 588 F.3d 816, 820 (4th Cir. 2009).

A search that exceeds the expressed scope of the suspect’s consent is unreasonable. United States

v. Neely, 564 F.3d 346, 349&51 (4th Cir. 2009) (holding that suspect’s consent to search of his car’s

trunk did not permit search of passenger compartment). If no limits are expressly placed on the

search, the inquiry is whether the search was consistent with what a reasonable person would have

understood to be the within the scope of the suspect’s consent under the circumstances. See United

States v. Gonzalez, 222 F. App’x 238, 246 (4th Cir. 2007) (unpublished). Unless expressly limited,

consent-based searches of automobiles generally include any location or container in which the object



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of the search might be found. For instance, if the suspect gives an officer generalized consent to

search a car for narcotics, it would be reasonable for the officer to look into a paper bag found on the

floor of the car. Jimeno, 500 U.S. at 251.

       Defendant seeks to suppress evidence seized when the agents executed a search warrant of

his residence on October 6, 2009. Specifically, Defendant wishes to suppress photographs taken from

a chest in the living room of his home and axe handles taken from his vehicle. The Government

conceded that it does not intend to introduce the photographs into evidence, which moots that portion

of Defendant’s suppression motion. The axe handles were found in Defendant’s vehicle. It is

undisputed that the vehicle was not covered by the search warrant. The law enforcement officers

executing the search warrant obtained written consent forms from Defendant and Lathey to search

the vehicle. Defendant argues that the consent was not given voluntarily and, even if it was

voluntary, that the search exceeded the scope of his consent. The testimony and evidence produced

at the hearing do not bear out these assertions, however.

       Most of the events that occurred on the morning in question are undisputed. Approximately

ten law enforcement officers arrived at Defendant’s home around 6:00 a.m. They knocked on the

front door and announced their identity. Lathey testified that Defendant woke her up. She recalled

that the officers’ vehicles’ flashing blue lights were visible outside the bedroom window. Defendant

went to answer the door, according to Lathey, because “he didn’t want them to bust the door.”1

       The officers at the door had their guns drawn. Defendant opened the door, and officers

immediately ordered him to the ground. ATF Special Agent Wesley Brent Price holstered his gun

and cuffed Defendant with his hands behind his back. Special Agent Price remained with Defendant

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  Quotations of testimony from the March 29 hearing are drawn from the court reporter’s rough
draft of the transcript.

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while the others conducted a sweep of the home with their guns still drawn. The officers found

Lathey in a bedroom or stepping out of a bedroom. Lathey stated that an officer pointed a gun at her

head as he approached. She was brought to the living room of the home where she was placed on the

couch next to Defendant. Lathey was not handcuffed. The officers secured their firearms in their

holsters when the initial sweep was complete. No guns were drawn for the remainder of the time the

officers were conducting the search. ATF Special Agent Jesse Hooker estimated that the officers’

guns were drawn no longer than “a minute or two.”

       Special Agent Price remained in the living room with Defendant and Lathey while the other

officers conducted the search. Due to Defendant’s demeanor, which the officers described as calm,

collected, and non-threatening, his handcuffs were moved to a more comfortable position in front of

his body. Special Agent Price described the atmosphere as calm, and recalled that they engaged in

light conversation on topics such as Defendant’s business and Lathey’s dog. Special Agent Hooker

called the atmosphere in the home “cordial” and “subdued.” Apart from the initial entry, Lathey

described the officers’ conduct for the remainder of the search, which lasted several hours, as

“respectful,” “nice,” and “professional.”

       Within the first twenty or so minutes of the search, Special Agent Price asked Defendant if

there were any drugs or firearms in the home. Defendant responded that he had a permitted firearm

in his truck which was parked outside the residence. Special Agent Price asked Defendant if the

officers could search the truck. Consistent with usual practice, Special Agent Price testified that he

asked if they could search the vehicle generally, without limiting the request in any manner. Special

Agent Hooker, who was present during the exchange, did not recall any limits being placed on the

scope of the search. Defendant orally consented to the search. He testified that at the time he felt he



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“had nothing to hide” and that he believed that the officers would obtain a warrant if he refused. He

did not recall expressing any limitations on the scope of the search. Defendant did testify, however,

that he believed that he was consenting to the retrieval of the firearm from his truck and nothing

more. Special Agent Price inquired as to the location of the keys. Defendant responded by pointing

to the kitchen area where the keys were hanging on a rack on the wall. Special Agent Hooker

retrieved the keys and proceeded outside.

          It is undisputed that Defendant and Lathey each signed consent forms for the vehicle search.

It is unclear exactly when the written consent forms were signed, however. Although the testimony

was somewhat inconsistent, it appears that Defendant signed the form after giving oral consent but

prior to the search and Lathey signed the form afterwards, when it was discovered that the vehicle

was titled in her name in addition to Defendant’s. No testimony described the contents of the consent

forms, which apparently were misplaced by the ATF after the search.

          Special Agent Hooker and another officer unlocked the truck and began to search. First, the

firearm was found in a compartment under the center console. They next found a concealed weapons

permit and the vehicle’s registration. The officers continued to search. One of the officers lifted the

backseat. Underneath they found two axe handles with PMC insignia on them. The axe handles were

seized.

          The largely undisputed events leading up to Defendant’s consent to search the truck do not

suggest that his consent was involuntary. Undoubtedly, the initial entry of the officers with their guns

drawn was traumatic for Defendant and Lathey. However, the voluntariness of consent must be

reviewed under the totality of the circumstances. After the tense initial sweep of the residence, the

testimony of Special Agent Price, Special Agent Hooker, Lathey, and Defendant all indicate that the



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atmosphere was relaxed. It was during this time, with Defendant and Lathey sitting on their couch

engaging in small talk with the officers, that Special Agent Price requested consent to search the

vehicle. No weapons were drawn and no threats were made. Consent was given orally and in

writing. The fact that Defendant was in custody and handcuffed is of little consequence. Defendant

testified that he believed the officers would have obtained a warrant to search the truck if he withheld

consent. This admission suggests that Defendant understood he could have refused the request. The

Court finds that Defendant’s consent was given voluntarily.

        The evidence produced at the hearing demonstrates that the officers’ search did not

unreasonably exceed the scope of Defendant’s consent. Special Agent Price testified that he

requested to search the truck in general terms without limitation. He and Special Agent Hooker did

not recall Defendant placing any limitations on his consent to the search of the truck. Defendant’s

testimony on this issue was consistent with the officers. It is plausible that Defendant subjectively

believed that he was consenting only to the retrieval of the gun from his truck, but the officers did

not limit their request to search and he did not expressly limit his consent. He had no reason to do

so. Defendant admitted that he thought he had nothing to hide. The permissible scope of a search

based on consent is determined by objective reasonableness.         The Court finds that the officers

reasonably believed that Defendant consented to a general search of his truck, which would include

the area under the back seat where the axe handles were found.

       B. Evidence Obtained During Grand Jury Testimony

       The investigatory powers of grand juries are subject to few constraints and only limited judicial

oversight. United States v. Calandra, 414 U.S. 338, 342-43 (1974). However, it is a “universal rule

that prosecutors cannot utilize the grand jury solely or even primarily for the purpose of gathering



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evidence in pending litigation.” United States v. Brothers Constr. Co., 219 F.3d 300, 314 (4th Cir.

2000) (quoting United States v. Moss, 756 F.2d 329, 332 (4th Cir. 1985)). As this rule involves

delving into the subjective intent of prosecutors, it is “difficult, if not impossible to enforce.” In re

Grand Jury Subpoena Duces Tecum, 767 F.2d 26, 30 (2d Cir. 1985).

       Grand jury proceedings are entitled to a presumption of regularity. Id. A defendant

challenging the regularity of the grand jury proceeding bears the heavy burden of rebutting this

presumption. Id. A defendant under indictment may satisfy this burden by demonstrating that the

Government’s “sole or dominant purpose” was to use the grand jury’s investigatory powers to

improperly obtain pretrial discovery. Moss, 756 F.2d at 332. This burden is not met if the

circumstances evidence that the grand jury’s investigation concerned potential additional charges

against an indicted defendant, United States v. Leung, 40 F.3d 577, 581&82 (2d Cir. 1994), or potential

charges against unindicted persons involved in the same criminal activity as an indicted defendant,

United States v. Gibbons, 607 F.2d 1320, 1328 (10th Cir. 1979). The return of a superseding

indictment containing additional charges or additional defendants is strong evidence that the grand

jury proceedings were proper. United States v. Flemmi, 245 F.3d 24, 29 (1st Cir. 2001). Nevertheless,

a continuing grand jury investigation of a defendant subsequent to an indictment is not improper

merely because it does not result in additional charges. United States v. Leung, 40 F.3d 577, 581&82

(2d Cir. 1994). So long as the grand jury is acting for a lawful purpose, it is immaterial that its

investigation uncovers additional evidence against a defendant who is already under indictment. In

re Antitrust Grand Jury Investigation, 714 F.2d 347, 350 (4th Cir. 1983).




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       Defendant seeks to suppress photographs that were obtained from Lathey when she testified

before a federal grand jury subsequent to the original indictment. Defendant contends that the grand

jury was convened for the improper purpose of conducting pretrial discovery.

       In Count Thirteen of the original indictment (now Count Twelve of the superseding

indictment), Defendant is charged with an offense under 18 U.S.C. § 1959, which is commonly known

as VICAR. The basis for this charge, according to the Government, is that Defendant and others

confronted a man in a bar for wearing a t-shirt expressing support for a rival motorcycle club. The

man allegedly turned his shirt over to Defendant after he was surrounded and threatened with violence.

Counsel for the Government stated that they believed Defendant threatened the man with a knife

during the incident, but there was insufficient evidence of the use of a knife to charge him with assault

with a dangerous weapon in aid of racketeering under 18 U.S.C. § 1959(a)(3). Instead, Defendant was

charged in the original indictment with threatening to commit a crime of violence in aid of

racketeering under a different VICAR subsection, § 1959(a)(4).

       The original indictment was unsealed and Defendant was arrested on October 6, 2009. He

appeared before Magistrate Judge Mary Stanley for a detention hearing several days later. At that

hearing, Defendant’s counsel attempted to use a number of photographs taken on the night of the

alleged incident for the purpose of questioning one of the Government’s witnesses. The photographs

were not entered into evidence.

       Lathey was called to testify before a federal grand jury on January 5, 2010. The subpoena

apparently commanded her to provide the photographs in question. At the March 29 hearing, counsel

for the Government was candid about the rationale for the grand jury subpoena issued to Lathey:

        So through defense counsel’s representation in court, we thought that there were
        pictures taken on that specific night other than the one that we had already got from


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        one of the people who was there. So obviously we thought that if there were a bunch
        of pictures that night, one of them might show whether the defendant had a knife or
        not and, if he had a knife, we intended to supersede with assault with a dangerous
        weapon in aid of racketeering. Oddly, there were 50 pictures, but none of them
        showed the right side of the defendant to see whether he had a knife or not. So after
        we got the pictures as they were subpoenaed, we still didn’t feel like we should
        present an indictment for assault with a dangerous weapon because they didn’t show
        whether or not the defendant had a knife. So if the pictures had shown that he had a
        knife, we would have superseded and charged him with a more serious offense.
        Because the pictures didn’t unequivocally show that, we didn’t. It’s clearly a proper
        purpose to use a grand jury subpoena.

        A superseding indictment was returned on February 2, 2010. There were a few minor changes

to the VICAR count lodged against Defendant, but the substantive offense, § 1959(a)(4), was

unchanged.

        The Government’s stated purpose for subpoenaing Lathey is analogous to a situation that

came before the First Circuit in United States v. Flemmi, 245 F.3d 24 (2001). The First Circuit’s

reasoning is persuasive. The defendant in Flemmi initially was indicted on RICO charges. The grand

jury continued to deliberate and call witnesses. A superseding indictment was returned which

contained no additional defendants or charges, but which added four predicate racketeering acts to the

existing RICO charge. The additional racketeering acts had the effect of increasing the maximum

penalty for the defendant from twenty years to life in prison. The Flemmi court cited the principle

from the Supreme Court’s decision in Apprendi v. New Jersey that “any fact that increases the

defendant’s exposure beyond the prescribed statutory maximum ‘is the functional equivalent of an

element of a greater offense.’” Flemmi, 245 F.3d at 30 (quoting Apprendi v. New Jersey, 530 U.S.

466, 494 n.19 (2000)). Accordingly, the court held that the increased maximum penalty in the

superseding indictment was “a sufficiently substantial change to defeat an accusation of grand jury

abuse.” Flemmi, 245 F.3d at 29.



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        The Flemmi court prefaced its decision with the observation that “there is a fine line between

an improper ‘trial preparation’ use of a grand jury and a proper ‘continuing investigation’ use.” 245

F.3d at 28. The Government in this case treads closer to that line than did the prosecutor in Flemmi.

Unlike Flemmi, the superseding indictment in this case did not increase the maximum penalty for

Defendant. The substantive offense and statutory penalty remained unchanged. However, the

pertinent inquiry must be focused on the Government’s subjective intent in pursuing a continuing

grand jury investigation. The contents of any superseding indictment is only circumstantial evidence

of this intent. A superseding indictment that adds charges or defendants to the case is strong evidence

that the grand jury was used for a proper purpose, but an investigation that does not produce new

charges does give rise to the converse inference of impropriety. Cf. Leung, 40 F.3d at 581&82 (“[A]

grand jury investigation is not improper merely because it does not result in formal charges.”).

        The Government’s stated intent in this case was to find evidence that Defendant committed

the VICAR offense by committing an assault with a knife. If such evidence had been discovered

through the grand jury’s subpoena of Lathey, the Government represented that it would have sought

a superseding indictment to charge Defendant with assault with a dangerous weapon under §

1959(a)(3). This change would have increased the maximum statutory penalty for the offense from

five years to twenty years in prison. Defendant has come forward with no convincing evidence that

the Government’s stated purpose for Lathey’s grand jury subpoena was a pretense. Thus, assuming

the Government’s stated intent in utilizing the grand jury’s investigatory powers to subpoena Lathey

to obtain the photographs is true, the present circumstances are not materially distinguishable from

those in Flemmi. The result should be the same. The Government’s intent was to obtain evidence of

conduct that would have permitted a substantial change to the charge against Defendant, namely a



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significant increase in the maximum statutory penalty. The Court therefore finds that Defendant has

not rebutted the presumption of regularity which attached to the grand jury’s proceedings and has not

demonstrated that the Government’s sole or dominant purpose for the Lathey subpoena was to engage

in improper pretrial discovery.

                                        III. CONCLUSION

       For the reasons set forth above, Defendant’s Motion to Suppress Evidence [Docket 872] and

Supplemental Motion to Suppress [Docket 1255] are DENIED.

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to Defendant and counsel, and the

United States Attorney.

                                             ENTER:         June 25, 2010




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